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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 RICHARD J. BENDER
   Assistant United States Attorneys
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2731
   Facsimile: (916) 554-2900
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 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES,                                                    CASE NO. 2:11-cr-428 GEB
12                                          Plaintiff,
                                                                       STIPULATION SETTING
13   v.                                                                MOTIONS SCHEDULE FOR
                                                                       DEFENDANT KELLY SMITH
14   KELLY SMITH,
15                                          Defendant,
16

17              At the last status conference on March 30, 2012, counsel for defendant Kelly Smith, (just

18 recently appointed) requested a separate and later motions schedule prior to the agreed upon

19 September 18, 2012 trial date. Instead of taking up everyone’s time in open court coming up with a
20 schedule, it was agreed that the interested parties would confer and submit a proposed order setting

21 agreed upon dates. After conferring with counsel for defendant Kelly Smith, the following is the

22 agreed upon schedule which is hereby submitted for the Court’s approval:

23              Motions due:                 July 2, 2012

24              Response:                    July 27, 2012

25              Reply:                       August 17, 2012

26              Hearing1                     August 31, 2012 at 9:00 a.m.

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     1
         Hearing would be non-evidentiary with evidentiary hearing (if necessary) to be set at this hearing, unless the Court
28 directs otherwise prior to the hearing.
                                                                   1
29        Stipulation and Order setting motions schedule for
          defendant Bruce Goldsmith
30
                                    Case 2:11-cr-00428-JAM Document 70 Filed 04/11/12 Page 2 of 2



 1 Therefore, it is respectfully submitted that the Court adopt the above schedule. [Speedy Trial Act

 2 time has already been excluded to the scheduled trial date.]

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 4 Dated: April 10, 2012                                                        Respectfully submitted,
 5                                                                              BENJAMIN B. WAGNER
 6                                                                              United States Attorney

 7                                                                              by: /s/ Richard J. Bender
                                                                                RICHARD J. BENDER
 8                                                                              Assistant U.S. Attorney
 9
     Dated: April 10, 2012
10                                                                                /s/ Hayes H. Gable (by RJB)
                                                                                   HAYES H. GABLE
11                                                                              Attorney for Kelly Smith
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13
                                                                                 ORDER
14

15 It is SO ORDERED,

16 Date: 4/10/2012

17                                                                                      _________________________
                                                                                        GARLAND E. BURRELL, JR.
18
                                                                                        United States District Judge
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     DEAC_Signature-END:




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29                         Stipulation and Order setting motions schedule for
                           defendant Bruce Goldsmith
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